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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


SYED K. RAFI,

           Plaintiff,
v.                                              Civil Number. 3:14cv01582(VAB)


YALE UNIVERSITY SCHOOL OF MEDICINE,
RICHARD P. LIFTON

            Defendants.


                                      JUDGMENT

       This matter came on for consideration of defendants’ motion to dismiss and

defendants’ motion to strike before the Honorable Victor A. Bolden, United States

District Judge.

       The Court has reviewed all of the papers filed in conjunction with the motions and

on July 27, 2017, an order entered granting the relief requested in defendant’s motion to

dismiss and finding as moot defendants’ motion to strike.

       It is therefore, ORDERED, ADJUDGED and DECREED that the judgment is

entered for the defendants and the complaint is dismissed.

       Dated at Bridgeport, Connecticut this 3rd day of August, 2017.



                                                ROBIN D. TABORA, CLERK
                                                By:
                                                    /s/ _____________
                                                Jazmin Perez
                                                Deputy Clerk


EOD:       8/3/2017
